






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-92-633-CV





WALLERSTEIN PROPERTIES, LTD., JOEL WALLERSTEIN,


EVAN WALLERSTEIN, RHONNA BERNS AND IRVING WALLERSTEIN,



	APPELLANTS


vs.





FEDERAL DEPOSIT INSURANCE CORPORATION,


IN ITS CORPORATE CAPACITY AS ASSIGNEE OF

NCNB TEXAS NATIONAL BANK,


	APPELLEE



                        




FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT



NO. 91-9509, HONORABLE JAMES R. MEYERS, JUDGE PRESIDING



                        





PER CURIAM



	The parties have filed a joint motion to dismiss this appeal.  The motion is granted. 
Tex. R. App. P. 59(a).

	The appeal is dismissed.


Before Chief Justice Carroll, Justices Aboussie and B. A. Smith

Dismissed on Joint Motion

Filed:  September 22, 1993

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